             Case: 1:21-cv-00366 Document #: 83-16 Filed: 05/25/23 Page 1 of 2 PageID #:1081


Morrell, Benjamin S.

From:                                      Megan O'Malley <momalley@ompc-law.com>
Sent:                                      Monday, May 22, 2023 2:44 PM
To:                                        Alex Raynor; Morrell, Benjamin S.
Cc:                                        Fisher, Ian H.
Subject:                                   Re: Lynch v. CCC - amended privilege log
Attachments:                               Third Joint Motion to Resolve Discovery Disputes 5-22-23.docx; Third Joint Motion to
                                           Resolve Discovery Disputes - Compare.pdf

Follow Up Flag:                            Follow up
Flag Status:                               Flagged



Attached is the updated version in both Word (clean) and a pdf version that shows the tracked changes for
your convenience. You will see that the very few substantive changes are almost entirely within one
paragraph and in the footnote on page 6. Please insert Defendant's response positions into this version.

Thank you,

Megan O'Malley
O'Malley & Madden, P.C.
542 S. Dearborn St., Ste. 660
Chicago, Illinois 60605
phone: 312.697.1382
facsimile: 312.697.1384

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312-697-1382.



From: Alex Raynor <alex.raynor@ompc-law.com>
Sent: Monday, May 22, 2023 12:29 PM
To: Morrell, Benjamin S. <BMorrell@taftlaw.com>; Megan O'Malley <momalley@ompc-law.com>
Cc: Fisher, Ian H. <IFisher@taftlaw.com>
Subject: Re: Lynch v. CCC - amended privilege log

Counsel,

Thank you for sending us your amended log. As this was sent after hours on Friday, we have just now had an
opportunity to review the entries we reference in our motion to compel. Based on your changes, we will agree
to withdraw our motion as to Entries 94, 113-115, and 117-121. We intend to send you updated language for
the background portion of our motion to account for this change. That said, we will continue to move on
Entries 95-98, 105, 107-110, 116, 123, and 183 as we do not believe these are privileged, even with your
amendments. Since there are no significant changes to the motion, we still expect to receive your portion by
noon tomorrow so that we can get this before the court as soon as possible.

                                                                            1
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Best,
Alex

From: Morrell, Benjamin S. <BMorrell@taftlaw.com>
Sent: Friday, May 19, 2023 6:11 PM
To: Megan O'Malley <momalley@ompc-law.com>; Alex Raynor <alex.raynor@ompc-law.com>
Cc: Fisher, Ian H. <IFisher@taftlaw.com>
Subject: Lynch v. CCC - amended privilege log

Counsel,

Attached please find CCC’s amended ESI privilege log. Please let us know if you have any questions or
would like to discuss.

Thanks,

Ben


              Benjamin S. Morrell
              Attorney
              BMorrell@taftlaw.com
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              Tel: 312.527.4000 | Fax: 312.527.4011
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